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STATE OF INDIANA ) IN THE MARION SUPERIOR COURT
) INDIANA COMMERCIAL COURT
) SS:
COUNTY OF MARION  ) CAUSE NO. 49D01-1807-PL-026160
Plaintiff,
Vv.
FILED
ST. VINCENT MEDICAL GROUP, INC., May 23, 2019.
ST. VINCENT CARMEL HOSPITAL, wet any ee
INC., AND HANNAH THORNTON, R.N., EI eete rs
N.P., sw
Defendants.

ORDER ON MOTION TO COMPEL PLAINTIFF TO EXECUTE WRITTEN
AUTHORIZATIONS FOR RELEASE OF RECORDS

Defendants have filed their Motion to Compel Plaintiff to Execute Written Authorizations

for Release of Records. Upon consideration of the Motion, the Court hereby GRANTS the: Motion

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and ORDERS the fo written authorizations sent with

Defendants’ Discovery Requests and ed to Defendants Brief in support of the Motion.

Plaintiff shall provide the fully executed releases within
May 23, 2019
SO ORDERED this _ day of May, 2019.

following the date of this Order.

Meath a. Wel

Judge, Marion Superior Court Indiana
Commercial Court

The Court hereby grants in part and denies in part Defendants’ Motion to Compel.
The Motion to Compel is denied as to the request for written authorizations as

to PSI and ISMA. The Motion to Compel is granted as to Weissman and the
authorization shall be signed no later than May 28, 2019.

EXHIBIT D
